                                                                                     Motion GRANTED
                                                                                     conditioned upon the
                             UNITED STATES DISTRICT COURT                            timely filing of a waiver
                        FOR THE MIDDLE DISTRICT OF TENNESSEE                         of speedy trial by co-
                                                                                     defendant Vincent.
                                     NASHVILLE DIVISION



UNITED STATES OF AMERICA                       )
                                               )
                                               )
       v.                                      )       No. 3:13-00153-1
                                               )       JUDGE TRAUGER
                                               )
DORIAN AYACHE                                  )


                              MOTION TO CONTINUE TRIAL
       Defendant Dorian Ayache respectfully moves the Court to continue the trial set for

November 26, 2013, as well as all associated deadlines.

       Section 3161(h)(7)(A) of Title 18 provides, in pertinent part, that any period of delay

resulting from a continuance granted on the basis of a court’s findings that the ends of justice

served by granting of a continuance outweigh the best interests of the public and the defendant in

a speedy trial shall be excluded in computing the time within which the trial must commence.

The factors that a judge shall consider in determining whether to grant a continuance are found at

18 U.S.C. § 3161(h)(7)(B)(iv). One such factor is whether the denial of a continuance would

deny counsel for the defendant “the reasonable time necessary for effective preparation, taking

into account the exercise of due diligence.”

       On September 19, 2013, Defendant Dorian Ayache was arraigned on charges of violating

Department of Transportation regulations, conspiracy to defraud the government, and tampering

with evidence. These charges require substantial factual investigation and research into a

specialized area of the law. Because these tasks require an unusual amount of time and might

require expert assistance, it will not be possible to properly complete them within the 70-day

speedy trial window.




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